
As the majority holds, the plain reading of § 15-18-8, Ala. Code 1975, requires the conclusion that " § 15-18-8(c) plainly authorizes a trial court to suspend `the minimum sentence' required to be imposed by § 15-18-8(a), including `the minimum period of confinement' that § 15-18-8(a)(1) requires for sentences greater than 15 years but not more than 20 years."932 So.2d at 133. I do not believe that when the legislature amended § 15-18-8 in 2000 it contemplated or intended this result; I agree with the Court of Criminal Appeals that this interpretation essentially renders "the 2000 amendment devoid of any field of operation and utterly meaningless." State v. Gaines,932 So.2d 118, 123 (Ala.Crim.App. 2004) (footnote omitted). However, this Court is bound by the rules of statutory construction, and today's interpretation of the statute properly applies those rules.